                 Case 2:18-cv-01254-RSL Document 53 Filed 11/05/20 Page 1 of 1




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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8

 9   JOEL STEDMAN, on behalf of himself and            )   Case No. 2:18-cv-1254
     all others similarly situated; KAREN JOYCE,       )
10   on behalf of herself and all others similarly     )
     situated,                                         )   ORDER GRANTING DEFENDANT
11                                                     )   PROGRESSIVE DIRECT INSURANCE
                     Plaintiffs,                       )   COMPANY’S UNOPPOSED MOTION
12
                                                       )   FOR EXTENSION OF TIME TO
13          v.                                         )   RESPOND TO PLAINTIFFS’ MOTION
                                                       )   TO FILE UNDER SEAL
14   PROGRESSIVE DIRECT INSURANCE                      )
     COMPANY, a foreign automobile insurance           )
15   company,                                          )
                                                       )
16
                     Defendant.                        )
17
            THIS MATTER came before the Court on Defendant Progressive Direct Insurance
18
     Company’s Unopposed Motion for Extension of Time to Respond to Plaintiffs’ Motion to File
19
     Under Seal. Dkt. # 52. The motions is GRANTED. Defendant’s response is due on November 16,
20
     2020. The Clerk of Court is directed to renote the motion to seal (Dkt. # 49) on the Court’s calendar
21
     for Friday, November 20, 2020.
22

23
            Dated this 5th day of November, 2020.
24

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26                                                 Robert S. Lasnik
                                                   United States District Judge
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